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                                                                                     United States District Court
                                                                                       Southern District of Texas

                                                                                          ENTERED
                                                                                          July 28, 2023
                           IN THE UNITED STATES DISTRICT COURT                         Nathan Ochsner, Clerk
                                SOUTHERN DISTRICT OF TEXAS
                                     VICTORIA DMSION

STATEDF TEXAS) et al.)
     Plaintiffs,
v.
                                                                    No. 6:23-cv-13
BUREAU OF ALCOHOL, TOBACCO, FIREARMS AND
EXPLOSIVES) et al.,
     Defendants.

        ORDER GRANTING UNOPPOSED MOTION FOR WITHDRAWAL OF COUNSEL

            On this date, the Court considered Plaintiffs' Unopposed Motion to Withdraw

     Leif A. Olson as Counsel. After considering the Motion, the Court is of the opinion that

     the Motion should be GRANTED.

            Accordingly, it is ORDERED, ADJUDGED and DECREED that Leif A. Olson is

     hereby withdrawn as counsel of record and Charles K. Eldred is listed as lead counsel

     for the Plaintiffs.

            SO ORDERED and SIGNED this 2.ef'day of       s)~ ·, 2023.


                                            United States District udge




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